Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 1 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 2 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 3 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 4 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 5 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 6 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 7 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 8 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 9 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 10 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 11 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 12 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 13 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 14 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 15 of 16
Case 1:07-cr-00060-LRR-JSS   Document 38   Filed 09/18/07   Page 16 of 16
